                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


JOHN DOE 162,

                       Plaintiffs,                            Case No. 2:20-cv-03817

       v.                                                     Judge Michael H. Watson

THE OHIO STATE UNIVERSITY,                                    Chief Magistrate Judge
                                                              Elizabeth P. Deavers
                       Defendant.


                                             NOTICE

       At the request of the Court, Plaintiffs met and conferred concerning recusal, and were

unable to reach consensus. Our firm does not intend to file a motion for recusal.

       The quickest way to revictimize a survivor of sexual abuse is to tell them the abuse they

suffered has no value relative to other similarly situated survivors. At this date, the remaining 56

Plaintiffs represented by Wright & Schulte, LLC have been denied the opportunity to participate

in mediation or consider participation in the Strauss Individual Settlement Program. All 56 of our

clients want that opportunity. After repeated written and oral requests, OSU still has granted

neither opportunity with no explanation. The 56 survivors are still hopeful that OSU will do the

right thing, allow them to participate in mediation or consider the Strauss Individual settlement

program.




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    Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 19th day of September 2021, the foregoing

was filed via the ECF/CM system with the Clerk of the Court and served upon counsel of record

via email through the Court’s ECF/CM system by means of the Notice of Electronic Filing.



                                                           /s/ Richard W. Schulte




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